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   Counsel for Defendants
14
15                     UNITED STATES DISTRICT COURT
16               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                                 (San Diego)
17
18 AL OTRO LADO, Inc.; ABIGAIL Doe;          Case No. 3:17-cv-02366-BAS-KSC
   BEATRICE Doe; CAROLINA Doe;
19 DINORA Doe; INGRID Doe;                   Hon. Cynthia A. Bashant
20 ROBERTO Doe; MARIA Doe; JUAN
   Doe; VICTORIA Doe; BIANCA Doe;            DEFENDANTS’ CROSS-
21 EMILIANA Doe; and CÉSAR Doe,              MOTION FOR SUMMARY
22                                           JUDGMENT AND
                       Plaintiffs,           OPPOSITION TO PLAINTIFFS’
23
                                             MOTION FOR SUMMARY
24                     v.                    JUDGMENT
25
   CHAD F. WOLF, Acting Secretary of         NO ORAL ARGUMENT UNLESS
26 Homeland Security; MARK A.                REQUESTED BY THE COURT
27 MORGAN, Acting Commissioner, U.S.
   Customs and Border Protection; and
28 WILLIAM A. FERRARA, Executive
     Case 3:17-cv-02366-BAS-KSC    Document 563    Filed 09/25/20   PageID.52208    Page
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1 Assistant Commissioner, Office of Field
2 Operations, U.S. Customs and Border*
  Protection, in their official capacities,
3
4                             Defendants
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      *
25      Pursuant to Federal Rule of Civil Procedure 25(d), Acting Secretary Wolf is
      automatically substituted as a Defendant for former Acting Secretary McAleenan;
26
      Acting Commissioner Morgan is automatically substituted as a Defendant for former
27    Commissioner McAleenan; and Executive Assistant Commissioner Ferrara is
28    automatically substituted as a Defendant for former Executive Assistant
      Commissioner Owen.
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1       DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT AND
2      OPPOSITION TO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
            Please take notice that on Defendants hereby move for summary judgment on
3
      all claims in the Second Amended Complaint (ECF No. 189) and oppose Plaintiffs’
4
      Motion for Summary Judgment (ECF No. 535). This Cross-Motion and Opposition
5
      is based on the attached memorandum of points and authorities, the exhibits
6
      referenced therein or attached thereto, and any arguments that may be presented on
7
      the matter.
8
9
      DATED: September 25, 2020            Respectfully submitted,
10
                                           JEFFREY BOSSERT CLARK
11
                                           Acting Deputy Assistant Attorney General
12                                         Civil Division
13                                         WILLIAM C. PEACHEY
14                                         Director
15                                         KATHERINE J. SHINNERS
16                                         Senior Litigation Counsel
17                                         /s/ Alexander J. Halaska
18                                         ALEXANDER J. HALASKA
                                           Trial Attorney
19                                         United States Department of Justice
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28


                                              1       DEFS.’ CROSS-MSJ & OPP’N TO PLS.’ MSJ
                                                               Case No. 3:17-cv-02366-BAS-KSC
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1                              CERTIFICATE OF SERVICE
2               Al Otro Lado v. Wolf, No. 17-cv-02366-BAS-KSC (S.D. Cal.)
3           I certify that I served a copy of this document and its attachments on the Court
4     and all parties by filing this document with the Clerk of the Court through the
5     CM/ECF system, which will provide electronic notice and an electronic link to this
6     document to all counsel of record.
7
8     DATED: September 25, 2020              Respectfully submitted,
9
                                             /s/ Alexander J. Halaska
10                                           ALEXANDER J. HALASKA
11                                           Trial Attorney
                                             United States Department of Justice
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                                                2       DEFS.’ CROSS-MSJ & OPP’N TO PLS.’ MSJ
                                                                 Case No. 3:17-cv-02366-BAS-KSC
